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     Attorney for Defendant
 6   CONNIE DEVERS

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                        )       No. CR-S-10-0223 JAM
11                                                    )
                                                      )       STIPULATION AND
            Plaintiff,                                )       ORDER CONTINUING STATUS
12
                                                      )       COMPETENCY HEARING
13   v.                                               )
                                                      )
14   CONNIE DEVERS.                                   )       Date: 10/14/2014
                                                      )       Time: 9:00 a.m.
15                                                    )       Judge: Honorable John A. Mendez
            Defendant.                                )
16                                                    )
                                                      )
17                                                    )

18
            IT IS HEREBY STIPULATED by and between the parties hereto through their
19
     respective counsel, PHIL FERRARI, Assistant United States Attorney, attorney for Plaintiff, and
20
     MARK J. REICHEL, Esq., attorney for defendant, that the present date for the competency
21
     hearing be re calendared for October 14, 2014 at 9:00 a.m.
22
            Dr. John Greene will be seeing Ms. Devers again on September 16, 2014, and it is
23
     anticipated that a written report will then be available to the parties within two weeks of that
24
     date. Ms. Devers is again undergoing chemotherapy.
25
            Accordingly, all counsel and defendant agree that time under the Speedy Trial Act from
26
     the date this stipulation is lodged, through October 14, 2014 should be excluded in computing
27
     the time within which trial must commence under the Speedy Trial Act, pursuant to Title 18
28
     U.S.C. § 3161 (H)(7)(B)(iv) and Local Code T4.


                                                          1
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 1          It is so stipulated.
 2
     Dated: September 5, 2014                                     MARK J. REICHEL, ESQ.
 3
                                                                  /s/ Mark J. Reichel
 4                                                                Attorney for Defendant
                                                                  CONNIE DEVERS
 5

 6   Dated: September 5, 2014                                     U.S. ATTORNEY’S OFFICE

 7                                                                /s/ Mark J. Reichel, for
 8
                                                                  PHIL FERRARI
                                                                  Assistant U.S. Attorney
 9                                                                Attorney for Plaintiff
10   Dated: September 5, 2014                                     /s/ Mark J. Reichel, for
11
                                                                  KYLE REARDON
                                                                  Assistant U.S. Attorney
12                                                                Attorney for Plaintiff
13

14

15
                                                 ORDER
16
             IT IS SO ORDERED. For the reasons set forth above, the court finds that there is
17
     GOOD CAUSE for the continuance and the exclusion of time, and that the ends of justice served
18
     by this continuance outweigh the best interests of the public and the defendant in a speedy trial.
19
     Time is excluded pursuant to 18 U.S.C. Section 3161(h)(7)(B)(iv) and Local Code T4.
20

21   IT IS SO ORDERED.
22
     DATED: September 5, 2014.
23
                                                          /s/ John A. Mendez
24                                                        HON. JOHN A. MENDEZ
                                                          United States District Judge
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